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                Exhibit A
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                               UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS




In re: PHARMACEUTICAL INDUSTRY AVERAGE
WHOLESALE PRICE LITIGATION
_____________________________________________
                                                                     )
UNITED STATES OF AMERICA ex rel.                                     )
VEN-A-CARE OF FLORIDA KEYS, INC.                                     )
Plaintiff                                                            )
v.                                                                   ) CIVIL ACTION
                                                                     ) No. 05-11084-PBS
DEY, INC., et al                                                     )
Defendants                                                           )
                                                                     )



          REBUTTAL REPORT OF PROFESSOR W. DAVID BRADFORD, Ph.D.


                                                     May 7, 2009




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     A. Qualifications and assignment
     A.1. Qualifications
1.      I am presently employed at the University of Georgia, where I am the Busbee Chair of Public
        Policy and Professor in the Department of Public Administration and Policy. I have over 17 years
        of research experience in the area of health economics in general, much of which has focused on
        insurance, and the role of incentives and regulations on economic efficiency in particular. I have
        been principal investigator on 15 funded grants and projects. Several of these projects have
        focused on the functioning of various components of Medicaid, and involved working directly
        with Medicaid agency personnel in another state. As of this writing, I have published 45 articles in
        peer-reviewed publications, have another 30 reports and other publications, and serve as an Editor
        of the journal Health Economics Letters, and am an Associate Editor of the journal Health
        Economics. My curriculum vita was attached as Appendix A to my Expert Report.


     A.2. Assignment
2.      On March 6, 2009, I submitted an “Expert Report” in this matter. Subsequently on April 23, 2009,
        plaintiff experts Dr. Mark Duggan and Dr. Stephen Schondelmeyer submitted Rebuttal Reports. In
        this “Rebuttal Report” I respond to the issues raised by Dr. Duggan and Dr. Schondelmeyer. I am
        being compensated for my time in this matter at a rate of $525 per hour.

3.      I have reviewed depositions, documents, and data produced in this litigation, as well as a variety
        of publicly available information. The materials I relied upon in my Expert Report were listed in
        Appendix B of my Expert Report. Additional materials I have considered in this Rebuttal Report
        are listed in Appendix A. I reserve the right to update my analysis if additional information
        becomes available. In addition, I reserve the right to supplement or modify my opinions, if
        warranted, and to prepare additional supporting materials, such as summaries, graphical exhibits,
        or charts.




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     B. Overview
4.       After reviewing the Rebuttal Reports of Dr. Duggan and Dr. Schondelmeyer, I continue to stand
         by the opinions offered in my Expert Report dated March 6, 2009. Indeed their Rebuttal Reports
         do not even address several central opinions, that were (among others) presented in my report:

        It was no secret that generic entry in prescription drug markets lowers prices substantially over
         time

             Payers such as Medicare and Medicaid were aware of this and took steps to encourage
              generic substitution

             These programs encouraging generic substitution generally saved payers money

        Dey’s Wholesale Acquisition Cost (“WAC”) has a meaningful relationship with transaction
         prices

             WAC also has a practical significance as a list price, and generally tracks transaction prices

             An economically significant fraction of Dey’s sales through wholesalers were at or above
              WAC

        Dey’s Average Wholesale Price (“AWP”) is treated as a requirement for market entry, is not
         generally updated after product launch, and has no relationship to WAC after launch

        State Medicaid prescription drug programs have chosen to rely on private pharmacy networks to
         provide drugs to the beneficiaries

             The economics of these programs are driven by the requirement to guarantee access for
              Medicaid beneficiaries

             Pharmacy cost studies (both independent and performed for state Medicaid programs) have
              long documented that a portion of the drug payment is not for the drug at all, but rather
              covers a portion of the cost of dispensing

        Medicaid was well informed about the differences between AWP, WAC, and pharmacies’
         acquisition costs for prescription drugs

             States have substantial flexibility to design their Medicaid programs: variation in payments
              made by state Medicaid programs is generally a result of local political and economic factors




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              States that relied on Dey’s WAC for pharmacy payments paid considerably less than those
               that did not, and any state could have elected to use WAC

         Like Medicaid, Medicare has an access requirement that drives the economics of its program

              Government studies specific to the drug classes at issue in this matter detail the extent to
               which Medicare’s drug payments exceeded these providers’ acquisition costs and many other
               studies detail the shortfall in payment for services

              Congress periodically revisited the amount of payment on inhalation drugs (including Dey’s
               drugs) in light of these studies, but ultimately decided to leave payments largely unchanged
               until 2003 when it enacted the MMA

              Changes due to the MMA illustrate the extent to which Medicare drug payments built in an
               implicit service fee payment

5.       The issues that Dr. Duggan raises in his Rebuttal Report flow primarily from two fundamental
         errors. The first is that he repeatedly fails to recognize that policy is a matter of deliberate state
         and federal choice. Any causal analysis in this case would need to take this into account. The
         second is a fundamental misconception that patterns of industry behavior from the single-source
         (“branded”) pharmaceutical sector can be applied without modification to the multi-source
         (“generic”) pharmaceutical sector. I will demonstrate that Dr. Duggan’s various rebuttal points
         follow primarily from these two fundamental misconceptions. I also note that in many instances
         Dr. Duggan mischaracterizes my analyses and opinions and argues against “straw-man” arguments
         that he himself built up.

6.       Dr. Schondelmeyer’s Rebuttal Report relies heavily on eight criteria he suggests for evaluating
         prices as a basis for reimbursement. Published in his 2004 Abt report, these criteria do not, to my
         knowledge, appear to be part of any Medicare or Medicaid reimbursement rules.1 In fact, his eight
         criteria are internally inconsistent, and could never be fully satisfied by any single price. In other
         words, Dr. Schondelmeyer’s rebuttal lays out a final test with the effect that every candidate price
         must fail. His report appears to illustrate this problem since he argues that several bases like
         WAC, ASP, and AMP, which are actively used or proposed for use as a basis for reimbursement
         by Medicaid and Medicare, do not pass his test.




     1
         Indeed, as his activities on behalf of pharmacy associations in opposition to CMS’ proposed adoption of AMP for
         reimbursement appear to illustrate, even CMS seems to ignore some of his criteria.


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     C. Issues raised by Dr. Duggan
7.         Dr. Duggan does not address one of the fundamental mistakes in his analysis: he does not consider
           the fact that Medicaid agencies chose the reimbursement policies based on careful and deliberative
           processes which were generally well-informed by data. In fact, his statement that, “State
           governments had the adjudication algorithms that they did…” completely ignores his own
           admonition to “hold other factors constant”.2

8.         One of the key points I make in my Expert Report is that Dey’s WAC has practical significance as
           a list price, and generally tracks transaction prices. Dey provided this information to everyone
           through the pricing compendia. It is not merely an academic question whether States could have
           used this information for reimbursement – many states really did use this information. In general I
           find that States that chose alternative bases other than WAC paid more for Dey’s drugs. In other
           words, the information that Dey made available cannot alone explain variation in the amounts that
           states paid for Dey’s drugs. As my reviews of the Arkansas and Kentucky examples illustrate,
           there are many economic and political factors unrelated to the allegations in this case that play a
           decisive role in the determination of drug payments. In his difference calculating exercise, Dr.
           Duggan does not control for even a single alternative explanation for the differences in the level of
           payment.

9.         The second fundamental error that Dr. Duggan makes is that he applies standards to generic
           pharmaceutical prices that are only appropriate for branded pharmaceutical markets, and which are
           certainly not appropriate for generic pharmaceutical markets. Underlying all of Dr. Duggan’s
           calculations and rebuttal points is the implicit assumption that the expected WAC to AWP mark-
           up for Dey’s drugs should have been 25%. Nowhere does he present any analysis to support this
           expectation, or why it makes sense. It does not. As I illustrate in my Expert Report, the fact that
           this relationship does not hold for generics is obvious upon simple examination of the published
           AWP and WAC values in the pricing compendia (FirstData Bank, Redbook and Medi-Span). In
           my Expert Report I presented considerable evidence that there is no consistent relationship
           between WAC and AWP for generic drugs. However, Dr. Duggan has not responded to any of
           those analyses.



     2
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
           11084-PBS, April 23, 2009, at 2, 10.


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10.       Finally, many of Dr. Duggan’s rebuttal points are not about my opinions at all, but rather about
          “straw man” arguments that he has constructed. One example of this is the first paragraph under
          “Medicaid Dispensing Fees” in his rebuttal.3 Nowhere in my report do I make the argument
          attributed to me by Duggan in the first sentence, yet after setting up this straw-man, Dr. Duggan
          then “knocks it down” by arguing against it. This misleading and incorrect reading of my
          testimony pervades Dr. Duggan’s rebuttal. I point out other examples below.


      C.1. Holding all else equal
11.       The first issue raised by Dr. Duggan in his Rebuttal Report relates to his methodology of
          calculating damages. Interestingly, he now appears to acknowledge that his calculations are
          essentially damage estimates. 4 Dr. Duggan defends his methodology of mechanically calculating
          damages as the difference between actual payments and payments using alternate prices for Dey
          drugs. Dr. Duggan contends that it is common in applied microeconomics to “focus on the direct
          rather than the indirect effects”.5 I will address the articles he cites in support of this assertion
          below. First I point out the standard for damages calculation as explained in “Reference Manual
          on Scientific Evidence”:

               The characterization of the harmful event begins with a clear statement of the harmful event
               and its effect on the plaintiff, which alone is not sufficient. It must also include:
                    •    a statement about the economic situation absent the wrongdoing;
                    •    a characterization of the causal link between the wrongdoing and the harm the
                         plaintiff suffered; and
                    •    a description of the defendant’s proper behavior.6
12.       As the first requirement makes clear, any damages estimate needs to clearly characterize the
          economic situation in the counterfactual, or ‘but-for,’ world. In fact, the Reference Manual makes
          clear that, “In more complicated situations, the damages analysis may need to focus on how an
          entire industry would be affected.”7 Thus, contrary to Dr. Duggan’s assertions it is the proper


      3
        Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 5.
      4
        In his initial report, Dr. Duggan characterized his calculations as DIFFERENCES. However, in his Rebuttal Report Dr
          Duggan refers to ‘damage to the government’. See Rebuttal Report of Mark G. Duggan, United States District Court for
          the District of Massachusetts, Civil Action No. 05-11084-PBS, April 23, 2009, at 11.
      5
        Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 2.
      6
        Hall, Robert E. and Victoria A. Lazear, “Reference Manual on Estimation of Economic Losses in Damages Awards,”
          Reference Manual on Scientific Evidence, 2000, at 286.
      7
        Hall, Robert E. and Victoria A. Lazear, “Reference Manual on Estimation of Economic Losses in Damages Awards,”


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          standard to adequately characterize the counterfactual world ‘but-for’ the defendant’s conduct. Dr.
          Duggan’s Expert Report does not meet the criteria. Instead, Dr. Duggan suggests that any number
          of indirect effects is possible. That is true. Consequently, it is the role of the economic expert
          calculating damages to adequately characterize the ‘but-for’ world and take into account the most
          important relevant effects – of which volume changes in the face of price changes is certainly one
          relevant effect for economic analyses. Dr. Duggan creates the false impression that since not all
          possible effects can be taken into account, only his so called ‘direct effect’ is relevant. 8 That is not
          the standard in damages calculations or in economics.

13.       Nonetheless, I assessed Dr. Duggan’s ‘but-for’ world in my Expert Report. My analysis showed
          that marginal pharmacies would incur losses in the ‘but-for’ world with Dr. Duggan’s alternate
          prices. Dr. Duggan has not responded to this evidence in his rebuttal. Furthermore, according to
          Dr. Duggan’s flawed standard and methodology, any alternate price can be evaluated only in terms
          of its “direct impact”. As a mechanical exercise of Dr. Duggan’s standard and methodology, even
          the ‘direct effect’ of alternate prices that are zero can be calculated without any consideration to its
          feasibility. Clearly the zero alternate price ‘but-for’ world is infeasible and would fail to meet the
          basic standard of damages calculation.

14.       In defense of his position that one can ignore first-order effects, Dr. Duggan cites an article he
          published in the Journal of Public Economics in 2004. In that article he calculates the effect of
          managed care enrollment by California Medicaid enrollees on annual spending. Interestingly, Dr.
          Duggan uses what is known as an “instrumental variables” estimator to conduct his analysis. This
          way of measuring the effect of managed care enrollment is used precisely because there are other
          things changing in addition to managed care enrollment, and without taking those changes into
          account, the model would be biased, and yield misleading results. He explains in this article on
          page 2551 that: “Identifying the effect of managed care enrollment in this program is difficult for
          two reasons. First, … those who choose to enroll will differ in unobservable ways from those who
          do not. Second, … it is plausible that a change in health and thus in the demand for medical care
          services caused the change.”9 In the face of these two difficulties, Dr. Duggan needed a model
          that would “net out” these alternative sources of change. He used an instrumental variable exactly



          Reference Manual on Scientific Evidence, 2000, at 288.
      8
        The Reference Manual makes clear that it is not necessary to analyze miniscule effects. But Dr. Duggan has made no
          attempt to analyze any other effect besides his so called “direct effect”.
      9
        Duggan, Mark, “Does contracting out increase the efficiency of government programs?: Evidence from Medicaid HMOs,”
          Journal of Public Economics, Volume 88, 2004, at 2549-2572.


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           to do this; in other words, the model he chose controls for the other major simultaneous changes
           that were taking place along with the main effect he wanted to measure - in order not to
           mismeasure his main effect. Thus, the citation that Dr. Duggan provides in his rebuttal contradicts
           his own assertion that one can ignore simultaneous effects due to alternate price changes.


      C.2. Medicaid utilization
15.        Another objection raised by Dr. Duggan relates to the Medicaid utilization of Dey drugs in the
           “but-for” world with his alternate prices.10 It is standard to account for changes in quantity
           (utilization in this case) due to changes in price (reimbursement rates in this case) in damages
           calculations. Again, the reference manual makes clear the need to take this effect into account.11
           Dr. Duggan has not undertaken such an analysis for Dey drugs at issue. Instead, he points to an
           example of an Abbott drug which is not relevant for Dey. Abbott and Dey’s published prices are
           significantly different and Dr. Duggan analogy is moot.


      C.3. “Dey is too small” argument
16.        At various points in his rebuttal report, Dr. Duggan argues that Dey drugs at issue were only 26
           out of 25,000 NDCs and consequently too few to necessitate changes in payment policies.12 Dr.
           Duggan’s argument is flawed at several levels. The first flaw stems again from Dr. Duggan’s
           inadequate consideration of the counter-factual world. As I have already mentioned, in my Expert
           Report I demonstrated that Dr. Duggan’s alternate prices are infeasible as marginal pharmacies
           would incur substantial losses. In fact, a large fraction of pharmacies would incur losses under Dr.
           Duggan’s alternate prices. Dr. Duggan has not responded to this larger point.

17.        Implicit in Dr. Duggan’s ‘Dey is too small’ argument is that Medicare/Medicaid would not revise
           payments in reaction to one manufacturer’s pricing. However, this is exactly what Dr. Duggan’s
           difference calculations assume - where everything is held constant except an alternate price that is
           applied to just one manufacturer – Dey. Dr. Duggan has not established any basis for selectively


      10
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 4-5.
      11
         Hall, Robert E. and Victoria A. Lazear, “Reference Manual on Estimation of Economic Losses in Damages Awards,”
          Reference Manual on Scientific Evidence, 2000 at 288. See, for example, Nieberding, James F., “Lost Profits and Price
          Erosion in Patent Infringement Cases: Implications of Crystal Semiconductor,” Journal of Forensic Economics, Volume
          16, 2003, pp. 37-49. See also Epstein, Roy J., “The Market Share Rule with Price Erosion: Patent Infringement Lost
          Profits Damages After Crystal,” AIPLA Quarterly Journal, Volume 31, Number 1, 2003.
      12
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 3, 5.


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           applying the alternate price standards to Dey only. As I reviewed in detail in my Expert Report,
           Dey’s published prices conformed to the well understood norms of the generic industry.13

18.        However, if Dr. Duggan’s alternate price standard is to be applied to all generic manufacturers
           then marginal pharmacies would incur losses as I have already discussed. 14 Thus, in Dr. Duggan’s
           alternate price standard world, pharmacies facing losses on each generic prescription sold may
           respond by supplying only branded prescriptions, and thus substantially driving up the Medicaid
           and Medicare expenditures on prescription drugs. My initial assessment stands: Dr. Duggan’s
           alternative prices would either lead to unacceptable reductions in access or large increases in total
           spending. Interestingly, this point is made by the plaintiff expert Dr. Schondelmeyer in his
           rebuttal, where he states that WAC is an infeasible basis for reimbursement because it fails to
           “provide adequate compensation to providers and pharmacies” and fails to provide “incentives for
           pharmacies or providers to supply drugs.”15 As I demonstrate in my Expert Report, Dey’s WAC is
           above the AMP (since Dey’s WAC is an undiscounted invoice price). Further, in my Expert
           Report I have demonstrated that Dr. Duggan’s alternative prices are essentially identical to the
           AMP.16 Thus, since Dr. Schondelmeyer himself rejects the WAC as too low to be a feasible price,
           and since Dr. Duggan’s alternative prices are equivalent to the even-lower AMP, Dr.
           Schondelmeyer himself rebuts Dr. Duggan’s alternative prices as infeasible.


      C.4. Medicaid dispensing fee
19.        Another issue raised by Dr. Duggan relates to the Medicaid dispensing fees. Again, Dr. Duggan’s
           discussion began with a misrepresentation of the discussion in my report. In particular, Dr.
           Duggan states that “…A related point that Dr. Bradford makes on pages 52-59 of his report is that,
           if Dey had reported more truthful AWPs for complaint products, the state Medicaid agencies
           would have adjusted their dispensing fees to offset the reduction in pharmacies’ ingredient cost




      13
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, March 6, 2009 at Figure 3, Figure 11, and related discussion in section C.
      14
         Presumably, Dr. Duggan believes that his alternate price were the appropriate standard to use for all and not just for Dey
          drugs. In fact he has used similar alternate price standards for Abbott and Roxane drugs in his reports in related
          litigation. Dr. Duggan’s workpapers in Dey-Roxane scenarios reveal that he is applying similar alternate price standards
          to Roxane drugs.
      15
         Rebuttal Report of Stephen W. Schondelmeyer, United States District Court for the District of Massachusetts, Civil
          Action No. 05-11084-PBS, April 23, 2009, at 17.
      16
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, March 6, 2009 at 131.


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           profits”.17 There is no such statement in those pages. Instead in those pages I review considerable
           evidence that there are overall ingredient and dispensing cross-subsidies built into the state
           Medicaid payments. I reviewed evidence on cross-subsidy based on more than a dozen articles,
           studies, and depositions. Dr. Duggan has not responded to any of the facts supporting my opinion.

20.        At a more fundamental level, Dr. Duggan has not responded to the evidence that States have made
           informed choices to have the cross-subsidy between ingredient and dispensing cost built into their
           payment system. Thus any changes to payment ingredient payments would have to be offset by
           changes to dispensing payments. Plaintiff expert Dr. Schondelmeyer has echoed similar opinions
           elsewhere “… reform of the drug product cost component of the payment system must be
           considered in association with reform of other components of the payment system.”18

21.        Instead, Dr. Duggan again repeats his argument that essentially boils down to “Dey was too small”
           for Medicaid to revisit dispensing fee payments as a consequence of changes to ingredient
           payments for Dey drugs. I have already discussed the flaws of this argument.

22.        Additionally, Dr. Duggan asserts that several states lowered drug payments without altering
           dispensing payments.19 Dr. Duggan presents this as evidence against cross-subsidy. On the
           contrary, these examples corroborate my opinion that states chose to adjust the ingredient cost and
           leave the dispensing fee alone because it is the overall payments to the providers that matter. As I
           demonstrated in my report, states rarely revise dispensing fees upward even though the dispensing
           costs are clearly increasing over time.20 Instead, states mostly revise only ingredient payments.
           Thus, the states are implicitly building cross-subsidy into their payment system.

23.        Furthermore, in the examples asserted by Dr. Duggan, he fails to consider that the ingredient
           payment changes made by the states themselves are endogenous decisions. In other words, the
           states’ decisions to revise only one payment component do not provide evidence against cross-
           subsidy. A more instructive test is to evaluate episodes when ingredient payment changes are
           exogenous to the states’ decision. For example, Deficit Reduction Act (“DRA”) of 2005 has



      17
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 5.
      18
         Schondelmeyer, Steven W. and Marian V. Wrobel. "Medicaid and Medicare Drug Pricing: Strategy to Determine Market
          Prices," Abt Associates, Inc., August 30, 2004, at 7.
      19
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 7.
      20
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
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           proposed requiring states to lower ingredient cost payments to the AMP.21 As a result, several
           states have proposed increasing dispensing fees substantially if the DRA legislation takes effect.
           In fact, in 2007 and 2008, several states, including Maine, Massachusetts, and Ohio have enacted
           legislation that would automatically increase the dispensing fee if and when the lower ingredient
           payments due to the DRA go into effect.22 Another instructive episode is when Medicare decided
           to revamp the payment system from an AWP-based system to an ASP-based system as part of the
           Medicare Modernization Act (“MMA”). In this episode, Medicare substantially increased
           dispensing payment levels to compensate for reduced drug payment levels. I have discussed this in
           detail in my Expert Report.23


      C.5. Massachusetts algorithm
24.        Dr. Duggan states that using the Massachusetts payment formula as a benchmark for other states is
           “inappropriate”.24 Dr. Duggan’s argument that “state governments had the adjudication algorithm
           that they did”25 is a tautological statement that fails to consider the choices made by the states. Dr.
           Duggan does not address the considerable evidence that I reviewed in my Expert Report that
           shows that states make informed choices.

25.        Dr. Duggan does not address the fact that several other states, besides Massachusetts, chose to use
           WAC for drug payments, as I discussed in my report.26 These WAC-based states generally
           achieved lower drug payment rates. Clearly, WAC-based drug payments were an option available
           to all states. Nonetheless, many states made informed choices to have alternate payment rates
           based on their needs and political bargaining among stakeholders at the state level. I discussed this
           process in detail for Kentucky and Arkansas and I also highlighted this process for several other


      21
         Senate Bill 1932, Deficit Reduction Act of 2005, Sec. 6001, “Federal Upper Payment Limit for Multiple Source Drugs
          and Other Drug Payment Provisions." This legislation has not been implemented due to various legal challenges.
      22
         For Maine, see “An Act Regarding MaineCare Pharmacy Professional Fees,” Chapter 590, Sec. 1. 22 MRSA §3194, 123rd
          Legislature, available at www.mainelegislature.org/legis/bills/bills_123rd/chapters/PUBLIC590.asp. For Massachusetts,
          see “Division of Health Care Finance and Policy,” Chapter 182 of the Acts of 2008, 4100-0060, available at
          www.mass.gov/legis/laws/seslaw08/sl080182.htm. For Ohio, see "Increase in Fiscal Year 2009 Dispensing Fee for
          Multiple Source Drugs," Section 309.31.16, Amended Substitute House Bill Number 119, 127th General Assembly,
          available at www.legislature.state.oh.us/BillText127/127_HB_119_EN_N.html.
      23
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, March 6, 2009 at 117-119.
      24
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 10.
      25
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 10.
      26
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, March 6, 2009 at 76-103.


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           states in my report. Dr. Duggan fails to address the considerable evidence of state choices. Instead,
           his difference methodology attributes these state choices to Dey.

26.        Dr. Duggan similarly states that it “is clearly inappropriate” for Medicare to use WAC.27 Again,
           Dr. Duggan does not address that Congress and CMS made informed choices to use an AWP-
           based payment system for Medicare program. Congress could have legislated a WAC-based
           system like many state Medicaid agencies successfully did.


      C.6. Use of wholesaler data
27.        Dr. Duggan criticizes my use of the wholesaler data by suggesting that Cardinal data is not
           representative. In my analyses I used the Cardinal and the McKesson wholesaler data. Cardinal
           and McKesson are two of the three largest nationwide drug wholesalers, which together account
           for more than 90% of the wholesale market.28

28.        Dr. Duggan’s criticism of Cardinal wholesaler data is premised on the assumption of an AWP-to-
           WAC spread of 25%. In my report I presented considerable evidence that this norm does not apply
           to generic drugs and this fact is well known. Dr. Duggan does not address this evidence. Instead
           he just proceeds with his arguments that are critically based on this premise. Thus Dr. Duggan’s
           comparison of wholesaler averages to Dey transaction data average scaled by 1.25 is unsupported.
           This comparison makes no sense for generic drugs.

29.        Dr. Duggan also notes that Dey would not have access to the wholesaler data. This is true. The
           point of using wholesaler data is to get an accurate picture of the prices paid by the providers – in
           particular the marginal providers. As I discussed in my Expert Report, Medicaid and Medicare
           have chosen to rely on a network of retail providers. Thus, for this payment system to be viable,
           payers need to consider the cost of drugs to the marginal provider. In my Expert Report I
           discussed much evidence that access is one of the important considerations for
           Medicare/Medicaid. Dr. Duggan does not address any of the evidence I discussed. In my Expert
           Report, I further show that the wholesaler data provides a much more accurate picture of the actual
           prices paid by the marginal providers. Thus in order to asses the marginal provider’s cost of drug,
           wholesaler data is a better source.



      27
         Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, April 23, 2009, at 10-11.
      28
         AmeriSource Bergen is the third largest wholesaler. See Britt, Russ, "Growing Share of 'Big Three' Gets Federal
          Attention: Giant wholesalers dominate market, to hit quarter-trillion mark in sales," Market Watch, May 30, 2007.


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      C.7. Medicare dispensing fee
30.         Dr. Duggan also raises issues with my discussion of cross-subsidy in Medicare payments as
            exemplified by the Medicare Modernization Act (“MMA”). The MMA significantly lowered drug
            payments while at the same time significantly increasing dispensing payments as I discussed in
            detail in section E.4 of my Expert Report. Dr. Duggan claims that a proper evaluation of this
            change in payment system needs to consider all the factors that changed in the process.29 My
            discussion in section E.4 does precisely that when I compare actual overall payment levels based
            on the old system and the new system. This comparison already takes into account all aspects of
            the old and the new payment system that Dr. Duggan highlights. As I showed in my Expert
            Report, the actual overall payments, in fact, go up for some of the drugs at issue such as cromolyn
            sodium and compounded solution of albuterol and ipratropium bromide. Furthermore, I note that
            overall payment rates for all inhalation drugs combined did not actually change. These are
            comparisons of the actual payment data based on the old and the new system. Thus, all the aspects
            of the new payment system that Dr. Duggan raises are already incorporated in this comparison.

31.         Some of the new calculations that Dr. Duggan has presented on this issue in his rebuttal suffer
            from some other basic shortcomings. For example, Dr. Duggan has not appropriately taken into
            account the different payment levels for albuterol and ipratropium bromide compounded solution
            under both the new and the old Medicare payment system. In his calculations, Dr. Duggan always
            treats albuterol and ipratropium bromide separately. However, the most common inhalation drug
            combination reimbursed by the DMERCs was for the albuterol and ipratropium bromide as a
            compounded solution. Dr. Duggan has not evaluated these claims appropriately. Furthermore, as I
            mentioned in my Expert Report, after the implementation of MMA, Medicare introduced a new
            HCPCS at a higher reimbursement level for the compounded solution.


      C.7.1. Across state extrapolation
32.         Dr. Duggan defends his use of the extrapolation of claims data across states by pointing out that it
            is common to do so in microeconomics. As evidence he points to several papers that perform
            across-state extrapolation. A closer look at the papers cited by Dr. Duggan shows that these papers
            do the extrapolation by first carefully controlling for state differences. For example, the Meyer
            paper has state unemployment rates and state fixed effects in the models that control for



      29
           Rebuttal Report of Mark G. Duggan, United States District Court for the District of Massachusetts, Civil Action No. 05-
            11084-PBS, April 23, 2009, at 13.


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           differences across states.30 Thus in extrapolation exercises across states one must control for all
           relevant observable state variations. Dr. Duggan has not done so.

33.        In my report I presented detailed analysis showing substantial variation across state payment rates.
           I also showed that different states use different payment algorithms not only with respect to AWP
           and WAC but also in terms of state MAC, DOJ-prices and other payment bases. Dr. Duggan has
           not addressed any of this analysis. This variation in state payment rates is the reason that one
           cannot mechanically extrapolate across states without properly controlling for it.

34.        The only support Dr. Duggan provides for his across-state extrapolation is that the 14 states he
           chose to analyze have similar ratios of states using AWP-based and WAC-based payment systems
           as the remaining states. As I explained in my Expert Report, states use other payment bases
           besides AWP and WAC. In fact, less than half the payments are based on AWP and WAC.31 This
           point is illustrated by comparing the state-MAC-based payments for the 14 states that Dr. Duggan
           analyzes against the other 16 states for which claims data is available. My analysis shows that
           among these 14 states only about 6% of the claims were paid on the basis of state MAC while for
           the other 16 states about 12% of the claims were paid based on the state MAC. Since the state
           MAC based payments are usually lower than AWP-based payments, Dr. Duggan’s methodology
           produces larger differences when he extrapolates.

35.        A more important point is that, given the detailed analysis I presented in my report that showed
           wide variation in payment basis used by states, a careful examination of the actual claims data is
           needed. Any extrapolation that does not appropriately account for this is unreliable.

36.        In his Rebuttal Report, Dr. Duggan uses the actual claims data for two states – Wisconsin and
           South Carolina - for which he was previously extrapolating his differences. Based on his
           calculations Dr. Duggan finds that the extrapolated differences were lower, hence his methodology
           is conservative. A careful examination of Dr. Duggan’s workpapers reveals that his difference for
           Wisconsin using actual claims data includes a substantial calculation error. In particular, Dr.
           Duggan calculated the ‘but-for’ payments as (AWP – 90%) instead of (AWP – 10%) which was
           the state payment policy. Simply fixing this error would reduce the differences using claims data
           below the extrapolated differences. In particular, Dr. Duggan reports that using actual claims data


      30
         Meyer, Bruce D., “Unemployment Insurance and Unemployment Spells,” Econometrica, Volume 58, Number 4, 1990, at
          757-782.
      31
         Expert Report of W. David Bradford, United States District Court for the District of Massachusetts, Civil Action No. 05-
          11084-PBS, March 6, 2009 at 76-103.


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            increases his differences from $2.57 million to $2.92 million. Fixing the aforementioned error
            actually reduces his difference to $2.37 million.32 This represents a 23.2% error in his rebuttal
            calculations.

37.         For South Carolina, Dr. Duggan has included additional data in his Rebuttal Report; thus, he
            generates higher differences compared to his extrapolated differences in his original report. In his
            original report, Dr. Duggan calculated a difference of $2.34 million for South Carolina from 1992
            to 2007 as reported in his table 29A. In his Rebuttal Report, Dr. Duggan reports a difference of
            $2.35 using claims data. Review of Dr. Duggan’s workpapers show that in his Rebuttal Report he
            is calculating differences including additional data for the first quarter of 2008. I compared his
            extrapolated and non-extrapolated differences for the common time frame – 1992 to 2007 - and
            found that the latter actually produces lower differences. Thus Dr. Duggan’s results for Wisconsin
            and South Carolina are based on a calculation error and an improper comparison.


      D. Issues raised by Dr. Schondelmeyer
38.         In his Rebuttal Report, Dr. Schondelmeyer cites eight criteria for ‘estimating acquisition costs in a
            manner that could serve as a basis for a reimbursement system for all drug products on the
            market,’ which he then uses to evaluate available alternative pricing bases. Several of these criteria
            are contradictory: passing some of his tests necessarily means failing at least one of his other tests.

39.         The most important contradiction built into Dr. Schondelmeyer’s criteria can be found in a
            comparison of his adequate compensation and his accurate and up to date criteria. His discussion
            of WAC on page 17 illustrates the problem. There he points out that if the WAC was accurate, for
            “prices actually charged” then it would not have provided adequate compensation to providers
            without modification. In other words, WAC could only pass his adequate compensation test if it
            does not pass his accurate and up to date test. Likewise, as I implicitly point out in my Expert
            Report, pricing that is accurate as a measure of average “prices actually charged” cannot also be
            current and up to date since most price concessions are realized ex-post, and cannot be
            summarized contemporaneous with transactions.




      32
           Dr. Duggan additionally makes decisions regarding exclusions of some Wisconsin claims that are different from the
            decisions he employed for other states. These different decisions result in difference between from the results reported in
            figure 42 of my Expert Report.


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40.        It is also unclear what Dr. Schondelmeyer means by accurate and reliable. Again, this is
           illustrated by Dr. Schondelmeyer’s discussion of WAC. He states that WAC “is a price that was
           intended by Medicaid to reflect actual prices”, but nowhere does he cite where Medicaid’s
           intention is spelled out.33 The key questions here are: actual prices to whom, for what, and at what
           time? Dey’s WAC was largely accurate as the prospective price paid by wholesalers for inventory,
           as the actual contemporaneous price paid by a significant number (at times a majority) of
           pharmacies, and as a summary of previous average transaction prices. All of this is documented in
           my Expert Report. In other words, it is accurate as a list price measure and as a transactional price.

41.        Even if a manufacturer, in the early 1990s, were somehow able to forecast the unknowable future
           interpretations of an industry pricing term like “WAC” that Dr. Schondelmeyer would elaborate in
           April 2009, it still could never satisfy some of his basic criteria. For example, if a manufacturer
           were to summarize the average net prices it received for its products, the resulting average price
           would not accurately reflect the price paid by pharmacies or providers since the manufacturer can
           only observe the prices it is paid by intermediaries before markups are taken. As a result, it would
           not meet Dr. Schondelmeyer’s be accurate. Further, since wholesaler costs must be covered, this
           undiscounted WAC would be insufficient as a basis of payment to end providers.

42.        Even if a manufacturer were further able to accurately predict wholesaler/distributor markups, and
           reported those average prices, it would still unavoidably fail Dr. Schondelmeyer’s criteria. As I
           document in my report, actual prices paid by providers for Dey’s products vary widely, and
           averages cannot comprehensively reflect actual prices paid. If, as Dr. Schondelmeyer supposes,
           non-retail classes of trade pay less than retail pharmacies, then any average that includes those
           non-retail classes of trade would neither be accurate as a measure of the prices that pharmacies
           pay, nor would it provide adequate compensation if used as a basis for payments to pharmacies.
           This is fundamentally his argument against the use of the AMP as it is defined in the final rule
           established by CMS its implementation of the 2005 DRA. However, extending this logic by
           excluding non-retail classes of trade from average prices would lead to inaccurate, and perhaps
           inflated, estimates of the prices paid by non-retail providers.



      33
           Rebuttal Report of Stephen W. Schondelmeyer, United States District Court for the District of Massachusetts, Civil
           Action No. 05-11084-PBS, April 23, 2009, at 17. In fact, the only official understanding of the WAC of which I am
           aware is the 2003 definition provided in the context of the MMA, which interprets the WAC as a list price (Medicare
           Prescription Drug Improvement and Modernization Act of 2003, sec. 303(c)(2), §1847(a), 117 Stat. 2066 (2003)). In his
           Rebuttal Report at page 4, Dr. Schondelmeyer refers to FDB descriptions of AWP and WAC as “list and benchmark
           prices,” which casts some doubt on his interpretation that these are prices “actually charged” (see Schondelmeyer
           Rebuttal Report, at 17).


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43.      Dey’s products are purchased by many different types of providers in a variety of circumstances at
         very different prices. Dr. Schondelmeyer provides completely circular and contradictory guidance
         as to what a manufacturer in these circumstances should have done so as to comply with his eight
         criteria. Thus, Dr. Schondelmeyer’s criteria are themselves infeasible, since they do not permit any
         price measure (real-world or imaginary) to pass.




                                                                                           May 7, 2009
      W. David Bradford, Ph.D.                                                             Date
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Appendix A: Materials considered
Litigation documents
    Rebuttal report of Mark G. Duggan, United States District Court for the District of
     Massachusetts, Civil Action No. 05-11084-PBS, April 23, 2009 and materials considered.
    Rebuttal report of Stephen W. Schondelmeyer, United States District Court for the District of
     Massachusetts, Civil Action No. 05-11084-PBS, April 23, 2009 and materials considered.
    Expert report of Lauren J. Stiroh, United States District Court for the District of Massachusetts,
     Civil Action No. 05-11084-PBS, March 6, 2009.
    Expert report of Robert B. Helms, United States District Court for the District of Massachusetts,
     Civil Action No. 05-11084-PBS, March 6, 2009.


Academic literature
    Duggan, Mark, “Does Contracting Out Increase the Efficiency of Government Programs?
     Evidence from Medicaid HMOs,” Journal of Public Economics, Volume 88, 2004, at 2549-2572.
    Epstein, Roy J., “The Market Share Rule with Price Erosion: Patent Infringement Lost Profits
     Damages After Crystal,” AIPLA Quarterly Journal, Volume 31, Number 1, 2003.
    Hall, Robert E. and Victoria A. Lazear, “Reference Guide on Estimation of Economic Losses in
     Damages Awards,” Reference Manual on Scientific Evidence, 2000, at 277-332.
    Meyer, Bruce D., “Unemployment Insurance and Unemployment Spells,” Econometrica, Volume
     58, Number 4, 1990, at 757-782.
    Nieberding, James F., “Lost Profits and Price Erosion in Patent Infringement Cases: Implications
     of Crystal Semiconductor,” Journal of Forensic Economics, Volume 16, 2003, at 37-49.
    Schondelmeyer, Steven W. and Marian V. Wrobel. "Medicaid and Medicare Drug Pricing:
     Strategy to Determine Market Prices," Abt Associates, Inc., August 30, 2004.


Federal statutes
    “Federal Upper Payment Limit for Multiple Source Drugs and Other Drug Payment Provisions,”
     Senate Bill 1932, Deficit Reduction Act of 2005, Sec. 6001.


Publicly Available Documents
    Britt, Russ, "Growing Share of 'Big Three' Gets Federal Attention: Giant wholesalers dominate
     market, to hit quarter-trillion mark in sales," Market Watch, May 30, 2007.




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